
WHEREAS, the opinion rendered by this Court on February 7, 1989 (538 So.2d 92), affirmed the order of the Circuit Court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this Court’s opinion, by Petition for Review, the Supreme Court of Florida, by its opinion filed January 17, 1991, and its mandate now lodged in this Court, quashed this Court’s opinion, 575 So.2d 179;
NOW THEREFORE, this Court withdraws its mandate issued in this cause on February 23, 1989, vacates its opinion filed in the cause on February 7, 1989 and adopts, as its own, the opinion of the Supreme Court of Florida and remands to the trial court for further proceedings in accordance with the opinion of the Supreme Court. Costs allowed shall be taxed in the trial court pursuant to Florida Rule of Appellate Procedure 9.400(a).
